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   ARNOLD & PORTER KAYE
   SCHOLER LLP
   3000 El Camino Real
   Building 5, Suite 500
   Palo Alto, CA 94306
   (650) 319-4500

   Ryan M. Nishimoto
   ARNOLD & PORTER KAYE
   SCHOLER LLP
   777 South Figueroa Street, 44th Floor
   Los Angeles, CA 90017
   (213) 243-4000

   Michael J. Sebba
   ARNOLD & PORTER KAYE
   SCHOLER LLP
   250 West 55th Street
   New York, NY 10019
   (212) 836-8000

   *Admitted in NY and CA only; practice
   limited to matters before federal courts
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                                  INTRODUCTION

        Plaintiffs Cytiva Sweden AB and Global Life Solutions USA LLC

  (collectively, “Plaintiffs”) move to exclude certain opinions and testimony of the

  experts of Defendant Bio-Rad Laboratories, Inc. (“Bio-Rad”). In support of Bio-

  Rad’s claims of non-infringement and obviousness, Bio-Rad’s technical expert Dr.

  Bruce Gale proffers legally impermissible and unreliable opinions. In rebuttal to

  Plaintiffs’ expert opinions on damages, Bio-Rad’s expert Dr. Thomas Kearl proffers

  opinions on prior licenses that are unsupported and thus unreliable. As discussed

  below, these opinions fail to meet the threshold admissibility requirements of

  Federal Rule of Evidence 702 and should be excluded.

                NATURE AND STAGE OF THE PROCEEDINGS

        This patent infringement action was initiated in 2014 and transferred to this

  Court in 2018. (D.I. 1.) The parties exchanged expert reports on September 14, 2020,

  rebuttal reports on October 21, 2020, and reply reports on November 11, 2020.

  Expert depositions concluded November 25, 2020. The pre-trial conference is

  scheduled for June 9, 2021, and trial will commence June 21, 2021.

                        SUMMARY OF THE ARGUMENT

        1.    Certain opinions of Dr. Gale should be excluded because 1) the

  opinions are based on a claim construction contrary to the Court’s ruling and 2) the

  opinions are unreliable as they lack any sufficient knowledge basis.



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        2.     Certain opinions of Dr. Thomas Kearl that are based on license

  agreements should be excluded because he failed to make any threshold showing of

  technological comparability between the patents licensed under those agreements

  and the Asserted Patents.

                                      ARGUMENT

        A court may permit opinion testimony from an expert only if the testimony

  “will assist the trier of fact” and “(1) the testimony is based upon sufficient facts or

  data, (2) the testimony is the product of reliable principles and methods, and (3) the

  witness has applied the principles and methods reliably to the facts of the case.” Fed.

  R. Evid. 702. The Third Circuit has characterized the admissibility of expert

  testimony as falling into three categories: “qualifications, reliability, and fit.” Elcock

  v. Kmart Corp., 233 F.3d 734, 741 (3d. Cir. 2000). The party offering the expert

  testimony bears the burden of proving that the testimony is admissible. Withrow v.

  Spears, 967 F. Supp. 2d 982, 992 (D. Del. 2013). That burden must be met by a

  preponderance of the evidence. In re Paoli R.R. Yard PCB Litig., 35 F.3d 717, 744

  (3d Cir. 1994).

  I.    THE COURT SHOULD EXCLUDE CERTAIN OPINIONS OF
        DR. BRUCE GALE

        Dr. Gale’s opinions should be excluded because (1) they are based on a claim

  construction contrary to the Court’s ruling, (2) they are unreliable as Dr. Gale lacks

  the requisite knowledge required for the opinions, and (3) he improperly relies on


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  hearsay testimony as the sole support for his opinions, with no independent

  investigation or analysis.

        A.     Dr. Gale’s Non-Infringement Opinions Are Inconsistent With The
               Court’s Claim Construction Or Improperly Construe Terms

        Dr. Gale’s non-infringement opinions regarding the terms “fluidics section,”

  “non-fluidics section,” “panel member,” and “independently perform operations in

  response to instructions over a BUS” usurp the Court’s role in construing the claims,

  are unreliable, and can serve only to confuse a jury. Such expert testimony based on

  an erroneous or impermissible claim construction is properly excluded as irrelevant.

  See Exergen Corp. v. Wal-Mart Stores, Inc., 575 F.3d 1312, 1321 (Fed. Cir. 2009)

  (“Once a district court has construed the relevant claim terms, and unless altered by

  the district court, then that legal determination governs for purposes of trial. No party

  may contradict the court’s construction to a jury.”); see also MediaTek Inc. v.

  Freescale Semiconductor, Inc., No. 11–cv–5341, 2014 WL 971765 at 5 (N.D. Cal.

  Mar. 5, 2014) (“[T]estimony grounded in the prosecution history to discern the

  meaning of a claim is properly excluded from presentation to the jury, especially

  where, as here, a fair reading of the expert report reveals an intention to argue claim

  construction.”).

        Despite never having provided opinions concerning claim construction, Dr.

  Gale improperly relies on claim constructions already rejected by the Court, and

  supplants the plain and ordinary meaning of terms by attempting to raise new claim


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  construction issues for terms that neither party sought constructions for during the

  claim construction process. Indeed, Dr. Gale admits that he used the specification,

  file history of the Asserted Patents, and the inventor’s testimony to construe the

  claims:

               Q. Right. So you—I just want to understand what you did
               in your analysis. You felt like it was appropriate, though,
               to go to the specification, go to the file history, look at
               what the inventor said, and use all of that to interpret the
               claims as part of your analysis; is that what you’re saying?

               A. I did that.

  (Ex. 1 at 169:12-20 (objection omitted) 1; see also id. 172:14-173:6, 174:2-18, 186:4-

  188:5.) Moreover, Dr. Gale essentially admitted that he performed a claim

  construction analysis of the Court’s construction. (See Ex. 2 ¶ 23 (“In all cases, I

  applied the agreed claim constructions or the Court’s constructions as one of

  ordinary skill in the art would interpret them in light of the specification and the file

  history in performing my analyses and rendering my opinions in this report.”).)

  Nearly the entirety of Dr. Gale’s rebuttal report, as it concerns non-infringement,

  relies upon the file history, patent specification, and inventor’s testimony as he

  rehashes the same arguments advanced by Bio-Rad during claim construction and

  proposes new constructions for terms that should be given their plain and ordinary



  1
   “Ex.” refers to Exhibits attached to the Declaration of Amy L. DeWitt in Support
  of Plaintiffs’ Motion to Exclude Expert Opinions, filed concurrently herewith.

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   meaning. (Id. ¶¶ 42-126.) Because these fundamental errors infect nearly his entire

   report, the majority 2 of his non-infringement opinions concerning the terms “fluidics

   section,” “non-fluidics section,” “panel member,” and “independently perform

   operations in response to instructions over a BUS” should be excluded.

                1.    Dr. Gale’s interpretation of “fluidics section” and “non-
                      fluidics section” is inconsistent with the Court’s
                      construction

         Over Bio-Rad’s objection, this Court construed “fluidics section” to mean “a

   section of the interchangeable fluid handling unit that includes fluidics components

   and does not include non-fluidics components” and construed “non-fluidics section”

   to mean “a section of the interchangeable fluid handling unit that includes electrical

   components and does not include fluidics components.” (D.I. 89 at 3.)

         Dr. Gale’s non-infringement opinions are plainly an attempt to claw back Bio-

   Rad’s construction, previously rejected by the Court, that the non-fluidics section

   comprises “all the non-fluidics/electrical components of an interchangeable fluid

   handling unit.” Such testimony is “unreliable and unhelpful to the finder of fact.”

   See, e.g., Personalized User Model, L.L.P. v. Google Inc., C.A. No. 09-525-LPS,



   2
     Specifically, the following paragraphs of Dr. Gale’s Rebuttal Report should be
   excluded: 42-54; 58-67; 78-96; 100-115; 117-124; 126; 128-131; 135-141; 159-180;
   182; 184; 186; 189; 191-192; 194-196; 198-202; 204-205; 207-210; 212-214; 215-
   217; 219; 221; 223-224; 226; 228; 230; 232; 236-237; 241; 243; 249-252; 256-258;
   264-265; 267-269; 271-272; 274-277; 279; 281; 283-285; 287-288; 290; 292-295;
   297; 299.

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   2014 WL 807736, at *1 (D. Del. Feb. 27, 2014) (excluding opinion based on a

   construction the court had specifically rejected).

         In interpreting the term “fluidics section” for his non-infringement opinions,

   Dr. Gale opines that a POSITA would not understand external non-fluidic

   components to be in a separate section from the external fluidics section. (See Ex. 2

   ¶ 62 (“[T]he external electronics … are not in sections that are distinct from the

   fluidics sections. Rather, they are in the same section and not separated in the manner

   the inventors said they needed to be to be [sic] part of the invention and distinct from

   the prior art.”). Dr. Gale further opines that the specification only describes two

   sections—a fluidics section and a non-fluidics section. (See id. ¶ 44.)

         During claim construction, Bio-Rad proposed a construction requiring that all

   non-fluidics components must be in the claimed non-fluidics section and all of the

   fluidics components must be in the claimed fluidics section. (See D.I. 60 at 72, 93.)

   The Court rejected this and specifically left open the possibility that non-fluidics

   components could be located external to the non-fluidics section and there could be

   “other sections” in the fluid handling units. (See Ex. 3 at 103:8-13 (“That does not,

   however, preclude the possibility that there are other sections that are in the

   invention, and that’s important because that is consistent with the use of the

   indefinite article, which is inconsistent with Bio-Rad’s insistence that ‘all,’ either




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   fluidic or non-fluidic components, are in the respective handling unit.”); id. 97:16-

   25, 100:14-23.)

         Dr. Gale is improperly importing a requirement into the claims that all non-

   fluidic components must be “separated” from the fluidics section. The claims require

   only that the fluidics section and non-fluidics section be separated by the claimed

   “panel member”—requiring that the fluidics section be separated from other sections

   improperly narrows the scope of the claim and is inconsistent with the Court’s

   construction. Accordingly, these opinions should be excluded as unreliable and

   unhelpful.

                2.    Dr. Gale has no basis for construing terms that should be
                      given their plain and ordinary meaning by a POSITA

         Dr. Gale improperly displaces the plain and ordinary meaning of terms not

   construed by the Court with his own interpretations based on the file history,

   specification, and inventor’s statements. When a court does not construe a term or

   orders that the ordinary meaning applies, it is given its plain and ordinary meaning

   as understood by one skilled in the art. See EMC Corp. v. Pure Storage, Inc., 154 F.

   Supp. 3d 81, 109 (D. Del. 2016).

         Dr. Gale construes the term “panel member”—which was neither disputed by

   the parties nor construed by the Court—by limiting the term to exclude structures

   that include integrated electronics. In discussing the panel member, Dr. Gale ignores

   the plain and ordinary meaning of the term and relies on the file history. (See, e.g.,


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   Ex. 2 ¶ 126 (“There is no way to square the representations the inventors made about

   Mourtada, Bergstrom and Hess with respect to separation, with the arrangement in

   the Bio-Rad accused modules that have electronics adjacent to and on the same side

   of the panel member as the fluidics.”); Ex. 1 at 174:2-18 (confirming that he

   consulted the file history and specification to construe panel member).) Accordingly,

   Dr. Gale’s non-infringement opinions regarding the “panel member” should be

   excluded to the extent he relies on the file history for his analysis.

         Similarly, Dr. Gale construes the term “independently perform operations in

   response to instructions over a BUS”—which was not disputed by the parties nor

   construed by the Court. In doing so, Dr. Gale relies on the specification to

   (improperly and incorrectly) import what he asserts is one of two embodiments into

   his definition of how a POSITA would understand the term. (See Ex. 2 ¶ 136.) Based

   on this embodiment, Dr. Gale opines that a POSITA would understand that “the CPU

   does something above and beyond what that signal indicates and what the MCU

   would have done on its own, something that is independent of the signal the MPU

   sent.” (Id. ¶ 137.) However, Dr. Gale’s construction provides no guidance as to how

   a POSITA would understand the plain and ordinary meaning of the term, but rather

   how, in his view, a POSITA would veer from the ordinary meaning due to how he

   reads the specification. Accordingly, because Dr. Gale construes this term, as




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   opposed to opining on how a POSITA would understand the term, such opinions are

   improper claim construction and should be excluded.

         B.     Dr. Gale’s Opinions Regarding Testing Of The Applikon 2020
                System In The 2016 Experiments Are Unreliable

         Dr. Gale attempts to establish invalidity of the Asserted Patents based on,

   among other things, the alleged prior art Applikon 2040 System (“2040 System”).

   (See Ex. 4 ¶¶ 294-99 (describing system).) In support, Dr. Gale relies on a lab report

   of an experiment he claimed to have performed in 2016 (the “2016 Experiments”)

   in an effort to show that the 2040 System is a “liquid chromatography system,” a

   requirement of all Asserted Claims. 3 (See id. Exhibit 4.) 4 Dr. Gale further opines,

   based on nothing more than the unverified hearsay testimony from a Bio-Rad

   employee, that the “amount of time” and amount of “work” necessary for the 2040

   System to perform liquid chromatography was “less than or at least in the same range

   as a user who purchases an accused Bio-Rad device.” (Ex. 6 ¶ 40.)

         As explained below, Dr. Gale’s opinions relating to the 2016 Experiments

   should be excluded because they are unreliable. He was neither sufficiently involved



   3
    This position is particularly surprising because Bio-Rad deposed a representative
   of the company who sold the 2040 System, who testified that he had never heard of
   or seen the 2040 System used for liquid chromatography. (Ex. 5 at 226:10-17,
   228:11-17.)
   4
    To the extent Bio-Rad attempts to rely on this report as a reference unto itself, it
   was not disclosed during fact discovery or in Bio-Rad’s invalidity contentions and
   was performed years after the priority date of the Asserted Patent.

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   in the experiments nor did he investigate the amount of work that went into the

   experiments, which would be necessary for his opinions, particularly about the time

   and effort that went into retrofitting the 2040 System to perform liquid

   chromatography. His opinions are rendered further unreliable by his wholesale

   reliance on the testimony of a Bio-Rad employee, with no independent analysis or

   investigation.

                1.    Dr. Gale misrepresented his involvement in the 2016
                      Experiments

         Dr. Gale represented that he personally performed and recorded the 2016

   Experiments regarding the 2040 System. (Ex. 4 ¶ 299 (“I also performed tests to

   show the 2040 System can deliver controlled fluid flow to and through a liquid

   chromatograph column”); id. (“I recorded videos of these tests showing the 2040

   System performing liquid chromatography.”) (emphases added).) In fact, however,

   those representations were false; the experiments were performed by students

   working in Dr. Gale’s laboratory—Kevin Petersen and Travis White. (Ex. 7 at

   99:12-100:8 (Petersen explaining that the 2016 Experiments were run by “myself

   and Travis White”); id. 46:17-47:17.)

         Dr. Gale ultimately admitted at his deposition that he is “not sure … what[he]

   did or didn’t do” on the 2016 Experiments. (Ex. 1 at 107:4-12.) He witnessed only

   part of the 2016 Experiments, and could not “recall specifically whether [he]

   watched this part or that part.” (Id. 113:8-114:9.) He also admitted that, contrary to


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   what he wrote in his report, he did not record any of the videos, but was rather in his

   “office across the hall.” (Id. 110:13-22.) 5 Additionally, notwithstanding his opinion

   that “the 2040 System machine easily performed liquid chromatography and was

   readily programmed to do so” (Ex. 6 ¶ 42), Dr. Gale testified that he does not “know

   how much time it took to program” the 2016 Experiments and he is not even sure if

   he was “physically present when” the programming was performed. (Ex. 1 at 217:1-

   5; see also Ex. 7 at 97:1-17 (Petersen explaining that only he and Travis White

   entered the program).) Dr. Gale further admitted that he “never put a full program

   in” the 2040 System. (Ex. 1 at 235:21-236:1.)

         Nor did Dr. Gale ever review the work of those that actually performed the

   2016 Experiments. While Travis White “kept notes on more of the detailed questions

   on how the programming occurred” (Ex. 7 at 88:20-89:4), Dr. Gale admitted that he

   has “never seen [Travis White’s notebook], never relied on it, never used it,” and

   that it was “never in [his] possession.” (Ex. 1 at 209:6-210:1.) In fact, Dr. Petersen

   discarded Travis White’s notes and Dr. Gale never had an opportunity to review

   them. (Ex. 7 at 89:15-90:2.)




   5
    Given Dr. Gale’s shifting inability to recall details of the 2016 Experiments (see
   Ex. 1 at 78:15-79:2, 79:14-19), his reliance on his memory should not be given
   credit.


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                2.    Dr. Gale’s opinions regarding the 2016 Experiments lack a
                      sufficient knowledge basis

         Federal Rule of Evidence 702 requires that an expert base his testimony on

   “reliable principles and methods.” To be reliable, an expert cannot base his

   testimony “on ‘subjective belief or unsupported speculation’; the expert must have

   ‘good grounds’ for his on her belief.” Schneider ex rel. Est. of Schneider v. Fried,

   320 F.3d 396, 404 (3d Cir. 2003) (footnote and internal citations omitted); MOSAID

   Techs. v. LSI Corp., C.A. No. 10-192-RGA, 2014 WL 807877, at *1 (D. Del. Feb.

   28, 2014). Further, Federal Rule of Evidence 703 provides that “[a]n expert may

   base an opinion on facts or data in the case that the expert has been made aware of

   or personally observed.” However, “[i]t is an abuse of discretion to admit expert

   testimony which is based on assumptions lacking any factual foundation in the

   record.” Stecyk v. Bell Helicopter Textron, Inc., 295 F.3d 408, 414 (3d Cir. 2002).

         Dr. Gale’s opinions regarding the 2016 Experiments should be excluded

   because his expert report reflects insufficient personal knowledge of any material

   aspect of those Experiments. Callaway Golf Co. v. Acushnet Co., C.A. No. 06-91-

   SLR, 2007 WL 4165401, at *1 (D. Del. Nov. 20, 2007); see also XpertUniverse, Inc.

   v. Cisco Sys., Inc., C.A. No. 09-157-RGA, 2013 WL 865974, at *3 (D. Del. Mar. 7,

   2013) (excluding expert opinion based on insufficient personal knowledge of

   relevant issues). This situation is similar to that in Callaway, in which testimony by

   Acushnet’s expert was excluded because, even though the expert personally


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   observed testing conducted by Acushnet personnel, the expert “neither prepared nor

   tested anything.” Callaway, 2007 WL 4165401, at *1. (Unlike in Callaway,

   however, Dr. Gale did not even observe all the testing here, see Ex. 1 at 113:8-

   114:9.) Likewise here, Dr. Gale’s “‘expert report’ reflects no personal knowledge

   of any material aspect of the subject matter and cannot be used to confer any indicia

   of trustworthiness to the test results.” Id. Consequently, and even more so than the

   expert whose opinions were excluded in Callaway, Dr. Gale cannot vouch for the

   reliability of the test results and is certainly in no position to opine on the amount of

   time and effort in programming the 2040 System to perform liquid chromatography.

   See MOSAID, 2014 WL 807877, at *3 (finding that gaps in expert’s knowledge of

   underlying facts render the opinions unreliable).

                3.     Dr. Gale’s opinions comparing the 2040 System to the
                       Accused Systems lack a sufficient knowledge basis

         Compounding the problems in Dr. Gale’s opinions regarding the 2016

   Experiments is the basis for his ultimate opinion that the 2040 System—which is

   neither marketed for nor includes any programming for liquid chromatography—

   could be used to perform liquid chromatography with the same “amount of time”

   and “amount of work” as the accused Bio-Rad NGC systems. (Ex. 6 ¶ 40.) Notably,

   the NGC systems are pre-programmed to perform liquid chromatography and are




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   marketed as having “fast setup to analysis,” and “easy to use.” (Ex. 9 at

   BRGEDEL000100360; Ex. 8 at BRGEDEL000403804.)

            Because Dr. Gale has never performed liquid chromatography using an NGC

   system (and, as noted above, was not present when the 2040 System was allegedly

   programmed to perform liquid chromatography), his sole support for his opinion is

   a conversation with Bio-Rad specialist Katie Schaefer, who “confirmed” various

   details about Bio-Rad’s NGC system. (Ex. 6 ¶¶ 36, 37, 39, 40; Ex. 1 at 29:1-3,

   234:10-18.) Dr. Gale conceded he performed no independent analysis to confirm

   Ms. Schaefer’s statements. (See Ex. 1 at 266:6-18, 268:20-269:7.) Moreover, Dr.

   Gale: (i) did not take notes of his conversation with Ms. Schaefer; (ii) could not

   remember details of the conversation; (iii) could not recall whether the discussion

   covered topics not in his report; (iv) was “not sure” whether Ms. Schaefer indicated

   a minimal amount of time it would take to program an existing NGC system to

   perform liquid chromatography; and (v) could not consistently recall if he spoke to

   Ms. Schaefer about the 2040 System or explained to her what was involved in

   programming the 2040 System. (Id. at 105:12-22, 106:19-107:3, 274:9-17, 298:1-

   10.) 6




   6
     The most Dr. Gale was able to recall about programming time for the NGC was
   that Ms. Schaefer “indicated it was, you know, some time. It was—it was not five
   minutes. It was several hours in those cases.” (Ex. 1 at 275:6-19.)

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            Although an expert is allowed some latitude to rely on hearsay, Rule 703

   “does not authorize experts to merely “parrot” the ideas and opinions of other experts

   or individuals.” McLeod v. Dollar Gen., No. 13-3113, 2014 WL 4634962, at *5

   (E.D. Pa. Sept. 16, 2014); see also Rose Hall, Ltd. v. Chase Manhattan Overseas

   Banking Corp., 576 F. Supp. 107, 158 (D. Del. 1983) (finding that although Rule

   703 allows experts to rely on otherwise inadmissible evidence, “this does not

   magically render the hearsay evidence admissible”). Inadmissible and unverifiable

   hearsay, such as the type Dr. Gale relies on here with none of his own investigation,

   is not the type of information on which experts would reasonably rely to form an

   opinion. See MIICS & Partners Am. Inc. v. Toshiba Corp., C.A. No. 14-803-RGA,

   2017 WL 11573565, at *2 (D. Del. Oct. 12, 2017). Rule 702 compels the same

   conclusion—because Dr. Gale uncritically adopted Ms. Schaefer’s statements

   without conducting any independent assessment or analysis, or even reviewing any

   documents, his opinions should be excluded. See XpertUniverse, 2013 WL 865974,

   at *3.

            In sum, all of Dr. Gale’s opinions regarding the 2016 Experiments should be

   excluded.

   II.      THIS COURT SHOULD EXCLUDE CERTAIN OPINIONS OF DR.
            THOMAS KEARL

            To rebut the opinions concerning damages proffered by Plaintiffs’ expert John

   Bone, Bio-Rad served the Rebuttal Expert Report of Dr. Thomas Kearl, who opines


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   that a royalty rate of            is appropriate. 7 As explained below, Dr. Kearl’s

   opinions regarding licenses for which there is no demonstration of technical

   comparability to the Asserted Patents should be excluded.

         A.     Dr. Kearl Relies On Licenses With No Established Technical
                Comparability

         Dr. Kearl attempts to demonstrate the reasonableness of his proffered rate of

       by comparing it to rates from       licenses produced by the parties and included

   in a table (“Table 4”) in his report as part of his analysis under the Georgia-Pacific

   factors. (See, e.g., Ex. 10 ¶¶ 119-22, ¶ 123 (“The royalty rates in Table 4 range

   between                with the majority between                ”); id. ¶ 136 (“Since my

   proposed upper bound of             falls well within the range of actual licensed

   technologies, there is no reason to expect that it would be outside this range.”); id.

   ¶ 138.)

         Dr. Kearl also refers to the licenses in Table 4 as covering either “form” or

   “function” technologies, arguing that “function” technologies garner a higher rate

   than the purported “form” technologies of the patents-in-suit). (Ex. 10 ¶ 138 (“The

   licenses provided in this matter covering different functional and form

   technologies . . . .”); id. ¶ 139; Ex. 11 at 213:6-11 (“But as I just indicated if you had



   7
    In his report, Dr. Kearl only proffered a 2% reasonable royalty. After Plaintiffs’
   expert pointed out a deficiency in Dr. Kearl’s analysis, Dr. Kearl proffered an
   additional rate of 3.5% at his deposition. (Ex. 11 at 203:16-21.)

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   royalties that were no higher than              , for technologies that are functional and

   not just form factors, then you might question a form factor royalty that is in excess

   of that by these same parties.”). While Dr. Kearl claimed that his “form v. function”

   comparison was based on “Mr. Bone’s summary of his review of the licensed

   technologies,” Dr. Kearl acknowledged that Mr. Bone never performed any such

   “form” or “function” classification, and that was his (Dr. Kearl’s) own interpretation

   of the license, despite admitting he has no expertise to make any such classification.

   (Ex. 11 at 235:2-6, 236:2-4, 219:21-220:2.)

         Of the     licenses in Table 4, Bio-Rad’s technical expert Dr. Gale provided

   opinions of technical comparability to only             licenses—

                                                         Dr. Gale performed no comparison

   of the technology claimed by the Asserted Patents and the technology covered by

   the other      licenses. (Ex. 1 at 352:7-10.)

         B.     Dr. Kearl Should Be Excluded From Relying On Licenses With
                No Established Technical Comparability

         In providing an opinion on a royalty based on existing license agreements, an

   expert must establish comparability between the technology covered by the license

   agreements and the technology claimed in the patents-in-suit. See Virnetx, Inc. v.

   Cisco Sys., Inc., 767 F.3d 1308, 1330 (Fed. Cir. 2014); Lucent Techs., Inc. v.

   Gateway, Inc., 580 F.3d 1301, 1325 (Fed. Cir. 2009). Courts within this district have

   consistently applied this principle to exclude expert opinions on license agreements


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   where the expert has not shown sufficient technical comparability. See, e.g., Zimmer

   Surgical, Inc. v. Stryker Corp., 365 F. Supp. 3d 466, 496 (D. Del. 2019) (excluding

   opinions on license agreement where technical comparability was not established);

   M2M Solutions LLC v. Enfora, Inc., 167 F. Supp. 3d 665, 675-79 (D. Del. 2016)

   (excluding expert damages testimony based on insufficient technical comparison of

   licenses). Accordingly, Dr. Kearl’s opinions on the       licenses for which there is

   a complete absence of evidence of technical comparability should be excluded.

         Exclusion is appropriate even where an expert purports to use a license to

   demonstrate the structure of the license or use the rate as a “reasonableness” check,

   which Dr. Kearl admitted he was doing here. (Ex. 11 at 212:20-213:22, 209:1-14.)

   The Federal Circuit has rejected the use of non-comparable licenses for either

   structure of the license or amount. See LaserDynamics v. Quanta Comput., Inc.,

   694 F.3d 51, 77-78 (Fed. Cir. 2012) (reversing decision of lower court that allowed

   use of non-comparable license as to the form, but not the amount, of a reasonable

   royalty). Similarly, as Judge Andrews found in Enfora:




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         Lastly, I find little merit in Defendants’ argument that Dr. Choi can use
         incomparable licenses in his reasonable royalty analysis if he only uses
         them as a “sanity check,” rather than using them to drive the analysis.
         Federal Circuit precedent requires that for a license to be used in a
         damages analysis, the license must be proven comparable to the
         hypothetical negotiation. See, e.g., Lucent Techs., 580 F.3d at 1325.
         Defendants cannot escape this requirement by suggesting that the
         incomparable licenses only played a minor role as a quantitative
         reference point, instead of being a driving force in the reasonable
         royalty estimate.

   Enfora, 167 F. Supp. 3d at 678; see also I/P Engine, Inc. v. AOL Inc., No. 2:11-

   cv512, 2012 WL 12068846, at *2 (E.D. Va. 2012) (“Because the form of the royalty

   is equally important as the amount of the royalty, the Court concludes that if an

   agreement is non-comparable as to one aspect of the royalty question, it is non-

   comparable as to all aspects.”). Accordingly, because Dr. Kearl has failed to

   establish any of the    licenses are technically comparable, any opinions based on

   those licenses should be excluded.

                                     CONCLUSION

         For the reasons provided above, the Court should exclude the opinions and

   testimony of Bio-Rad’s experts.




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                                                 Respectfully submitted,

                                                 /s/ John W. Shaw
    OF COUNSEL:                                  John W. Shaw (No. 3362)
    Matthew M. Wolf                              Nathan R. Hoeschen (No. 6232)
    Jennifer Sklenar*                            SHAW KELLER LLP
    Amy DeWitt                                   I.M. Pei Building
    Bridgette C. Boyd                            1105 North Market Street, 12th Floor
    ARNOLD & PORTER KAYE                         Wilmington, DE 19801
    SCHOLER LLP                                  (302) 298-0700
    601 Massachusetts Avenue, NW                 jshaw@shawkeller.com
    Washington D.C. 20001                        nhoeschen@shawkeller.com
    (202) 942-5462                               Attorneys for Plaintiffs

    Jeffrey A. Miller
    Joseph B. Palmieri
    ARNOLD & PORTER KAYE
    SCHOLER LLP
    3000 El Camino Real
    Building 5, Suite 500
    Palo Alto, CA 94306
    (650) 319-4500

    Ryan M. Nishimoto
    ARNOLD & PORTER KAYE
    SCHOLER LLP
    777 South Figueroa Street, 44th Floor
    Los Angeles, CA 90017
    (213) 243-4000

    Michael J. Sebba
    ARNOLD & PORTER KAYE
    SCHOLER LLP
    250 West 55th Street
    New York, NY 10019
    (212) 836-8000




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                         CERTIFICATE OF COMPLIANCE

          Pursuant to the Court’s November 6, 2019 Standing Order, I hereby confirm

   that this brief complies with the type and number limitations set forth in the Standing

   Order. I certify that this document contains 4,480 words, which were counted using

   the word count feature in Microsoft Word, in 14-point Times New Roman font. The

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                                            /s/ John W. Shaw
                                            John W. Shaw (No. 3362)
                                            Nathan R. Hoeschen (No. 6232)
                                            SHAW KELLER LLP
                                            I.M. Pei Building
                                            1105 North Market Street, 12th Floor
                                            Wilmington, DE 19801
                                            (302) 298-0700
                                            jshaw@shawkeller.com
                                            nhoeschen@shawkeller.com
                                            Attorneys for Plaintiffs




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                           CERTIFICATE OF SERVICE

         I, John W. Shaw, hereby certify that on December 15, 2020, this document

   was served on the persons listed below in the manner indicated:

         BY EMAIL
         David E. Moore                      David Bilsker
         Bindu A. Palapura                   Andrew E. Naravage
         Stephanie E. O’Byrne                Felipe Corredor
         Alan R. Silverstein                 QUINN EMANUEL URQUHART
         POTTER ANDERSON                      & SULLIVAN, LLP
         & CORROON LLP                       50 California Street, 22nd Floor
         Hercules Plaza, 6th Floor           San Francisco, CA 94111
         1313 N. Market Street               (415) 875-6600
         Wilmington, DE 19801                davidbilsker@quinnemanuel.com
         (302) 984-6000                      andrewnaravage@quinnemanueal.com
         dmoore@potteranderson.com           felipecorredor@quinnemanuel.com
         bpalapura@potteranderson.com
         sobyrne@potteranderson.com          Kevin P.B. Johnson
         asilverstein@potteranderson.com     Brian C. Cannon
                                             QUINN EMANUEL URQUHART
         Anne S. Toker                        & SULLIVAN, LLP
         QUINN EMANUEL URQUHART              555 Twin Dolphin Dr., 5th Floor
          & SULLIVAN, LLP                    Redwood Shores, CA 94065
         51 Madison Ave, 22nd Floor          (650) 801-5015
         New York, NY 10010                  kevinjohnson@quinnemanuel.com
         (212) 849-7000                      briancannon@quinnemanuel.com
         annetoker@quinnemanuel.com
                                             Sean D. Damon
                                             QUINN EMANUEL URQUHART
                                              & SULLIVAN, LLP
                                             1300 I Street NW Suite 900
                                             Washington, D.C. 20005
                                             (202) 538-8260
                                             seandamon@quinnemanuel.com
Case 1:18-cv-01899-CFC-SRF Document 193 Filed 12/22/20 Page 29 of 29 PageID #: 7904




                                            /s/ John W. Shaw
                                            John W. Shaw (No. 3362)
                                            Nathan R. Hoeschen (No. 6232)
                                            SHAW KELLER LLP
                                            I.M. Pei Building
                                            1105 North Market Street, 12th Floor
                                            Wilmington, DE 19801
                                            (302) 298-0700
                                            jshaw@shawkeller.com
                                            nhoeschen@shawkeller.com
                                            Attorneys for Plaintiffs
